                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 24-2249
                                     ___________________

State of Tennessee; State of Arkansas; State of Alabama; State of Florida; State of Georgia; State
 of Idaho; State of Indiana; State of Iowa; State of Kansas; State of Missouri; State of Nebraska;
State of North Dakota; State of Oklahoma; State of South Carolina; State of Utah; State of West
                                  Virginia; State of South Dakota

                                             Plaintiffs - Appellants

                                                 v.

                          Equal Employment Opportunity Commission

                                             Defendant - Appellee

                                    ------------------------------

                               The Ethics & Public Policy Center

                                      Amicus on Behalf of Appellant(s)

  American College of Obstetricians and Gynecologists; Society for Maternal-Fetal Medicine;
      Society of General Internal Medicine; Council of University Chairs of Obstetrics and
  Gynecology; American Medical Women's Association; North American Society for Pediatric
and Adolescent Gynecology; American College of Physicians; American College of Preventative
Medicine; American College of Medical Genetics and Genomics; American Academy of Family
     Physicians; National Association of Nurse Practitioners in Women's Health; American
    Gynecological and Obstetrical Society; American College of Nurse Midwives; American
Academy of Pediatrics; American Civil Liberties Union of Iowa; American Civil Liberties Union
 of Minnesota; American Civil Liberties Union of Missouri; American Civil Liberties Union of
    Nebraska; American Civil Liberties Union of South Dakota, North Dakota and Wyoming

                                       Amici on Behalf of Appellee(s)

Small Business Majority; Main Street Alliance; American Sustainable Business Council; State of
 New York; State of Arizona; State of California; State of Colorado; State of Connecticut; State
   of Delaware; State of Hawaii; State of Illinois; State of Maine; State of Maryland; State of
  Massachusetts; State of Michigan; State of Minnesota; State of Nevada; State of New Jersey;
 State of New Mexico; State of North Carolina; State of Oregon; State of Pennsylvania; State of
Rhode Island; State of Vermont; State of Washington; State of Wisconsin; District of Columbia;
National Women's Law Center; American Civil Liberties Union; American Civil Liberties Union
 of Arkansas; A Better Balance; Actors' Equity Association; American Federation of Labor and
   Congress of Industrial Organizations; American Federation of State, County and Municipal
   Employees; American Federation of Teachers; Center for WorkLife Law; Communications
    Workers of America; Legal Aid at Work; National Center for Law and Economic Justice;


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  National Education Association; National Employment Law Project; National Nurses United;
    National Partnership for Women and Families; One Fair Wage; Public Counsel; Service
  Employees' International Union; United Food and Commercial Workers International Union

                         Amici Curiae - Amici on Behalf of Appellee(s)
______________________________________________________________________________

         Appeal from U.S. District Court for the Eastern District of Arkansas - Delta
                                   (2:24-cv-00084-DPM)
______________________________________________________________________________

                                             JUDGMENT


Before COLLOTON, Chief Judge, LOKEN, and KOBES, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is reversed and the cause is remanded to the district court for proceedings

consistent with the opinion of this court.

                                                      February 20, 2025




Order Entered in Accordance with Opinion:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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